                         UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS
                                   Wichita Division

In re:                               )
                                     )                     Bankr. Case No.: 19-10065
PARIS EDWARD THOMAS LOYLE and        )
KATHERINE CHRISTINE LOYLE,           )                     Chapter 7
                                     )
           Debtors.                  )
                                     )
                                     )
PARIS EDWARD THOMAS LOYLE and        )                     Adv. Proc. No.: 20-05073
KATHERINE CHRISTINE LOYLE,           )
                                     )
           Plaintiffs,               )
                                     )
v.                                   )
                                     )
UNITED STATES DEPARTMENT OF          )
EDUCATION, NAVIENT SOLUTIONS, LLC,   )
EDUCATIONAL CREDIT MANAGEMENT        )
CORPORATION, FEDLOAN SERVICING,      )
EDUCATIONAL COMPUTER SYSTEMS, INC., )
R3 EDUCATION, INC, FIRSTMARK         )
SERVICES, CITIZENS ONE, TAB BANK and )
AMERICAN EDUCATION SERVICES,         )
                                     )
           Defendants.               )
                                     )

                NAVIENT SOLUTIONS, LLC’S ANSWER TO COMPLAINT
                  TO DETERMINE DISCHARGE OF STUDENT LOANS

         Navient Solutions, LLC (“Navient”), by and through its undersigned counsel, hereby

provides its Answer to the allegations of Plaintiffs, Paris Edward Thomas Loyle and Katherine

Christine Loyle (“Plaintiffs”)’, Complaint to Determine Discharge of Student Loans

(“Complaint”), and states as follows:


                                JURISDICTION AND VENUE

         1. – 3. Admitted.

                                           PARTIES

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       4.      Admitted.

       5.      This paragraph of Plaintiff’s Complaint is not related to Plaintiff’s claims against

Navient, and as such, Navient provides no response.

       6.      Admitted for purposes of this adversary proceeding only.

       7. – 14. Navient is without information or knowledge sufficient to form a belief as to the

truth of the averments contained within these paragraphs of Plaintiff’s Complaint and, therefore,

denies same.

                                             FACTS

Facts Relating to Paris Loyle

       15. – 19. Navient is without information or knowledge sufficient to form a belief as to

the truth of the averments contained within these paragraphs of Plaintiff’s Complaint and,

therefore, denies same.

       20. – 21. Admitted.

       22.     Admitted, except that Navient’s records show the Grad Excel loan as one loan.

       23. – 27. Navient is without information or knowledge sufficient to form a belief as to

the truth of the averments contained within these paragraphs of Plaintiff’s Complaint and,

therefore, denies same.


Facts Relating to Katherine Loyle

       28. – 36. Navient is without information or knowledge sufficient to form a belief as to

the truth of the averments contained within these paragraphs of Plaintiff’s Complaint and,

therefore, denies same.



Facts Relating to Both Plaintiffs




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        37. – 43. Navient is without information or knowledge sufficient to form a belief as to

the truth of the averments contained within these paragraphs of Plaintiff’s Complaint and,

therefore, denies same.

        44.     Admitted only as to the Direct Consolidated and Grad Excel loans. Otherwise,

Navient is without information or knowledge sufficient to form a belief as to the truth of the

averments contained within this paragraph of Plaintiff’s Complaint and, therefore, denies same.


                                            ARGUMENT

        45. – 50. Navient is without information or knowledge sufficient to form a belief as to

the truth of the averments contained within these paragraphs of Plaintiff’s Complaint and,

therefore, denies same.


                                      RELIEF REQUESTED

        51.     This paragraph of Plaintiff’s Complaint is a conclusion of law and / or request for

relief, to which no answer is required, but in an abundance of caution, is denied.




                                 [this space intentionally left blank]




        WHEREFORE, Navient Solutions, LLC respectfully requests judgment in its favor and

against Plaintiffs, and such other relief as is just and equitable.




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                      Respectfully submitted,

                By:     /s/ David A. Gellis
                      David A. Gellis,      KS Bar #78310
                      Manz, Swanson, Hall, Fogarty & Gellis, P.C.
                      Lightwell
                      1100 Main Street, Suite 1930
                      Kansas City, MO 64105
                      Telephone: (816) 472-5310
                      Facsimile: (816) 472-5320
                      Email: dgellis@mslawkc.com
                      Attorneys for Navient Solutions, LLC




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                           FOR THE DISTRICT OF KANSAS

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EDUCATIONAL COMPUTER SYSTEMS, INC., )
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SERVICES, CITIZENS ONE, TAB BANK and )
AMERICAN EDUCATION SERVICES,         )
                                     )
           Defendants.               )

                                CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I am more than 18 years of age and not a party
to the matter concerning which service was accomplished. I further certify that on the 9th day of
June, 2020, a true and correct copy of Navient Solutions, LLC’s Answer to Complaint to
Determine Discharge of Student Loans was served upon the following electronically through the
court’s CM/ECF system:

January M. Bailey – Attorney for Plaintiff


                                     By:       /s/ David A. Gellis
                                             David A. Gellis,      KS Bar #78310
                                             Manz, Swanson, Hall, Fogarty & Gellis, P.C.
                                             Lightwell
                                             1100 Main Street, Suite 1930
                                             Kansas City, MO 64105
                                             Telephone: (816) 472-5310
                                             Facsimile: (816) 472-5320
                                             Email: dgellis@mslawkc.com
                                             Attorneys for Navient Solutions, LLC

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